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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

- against - ORDER
DONNELL RUSSELL, 20 Cr. 538 (PGG)
Defendant.

 

 

PAUL G. GARDEPHE, U.S.D.J.:

For the reasons stated on the record today, Defendant Donnell Russell’s motions
for a judgment of acquittal or for a new trial (Dkt. No. 79) are denied.

The sentencing currently scheduled for November 21, 2022, is adjourned to
December 19, 2022, at 10:30 a.m. The Defendant’s sentencing submission is now due on
December 5, 2022, and the Government submission is due December 12, 2022.
Dated: New York, New York

November 4, 2022
SO ORDERED.

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Paul G. Gardephe
United States District Judge

 
